Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 1 of 28 PageID #: 1841




                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

JAMIE LEONARD,                               )
                                             )
            Plaintiff,                       )
                                             )
v.                                           )         Case No. 4:19-cv-00927-MTS
                                             )
ST. CHARLES COUNTY, STEVEN                   )
HARRIS, DONTE FISHER, LISA                   )
BAKER, and THERESA MARTIN,                   )
                                             )
            Defendants.                      )


              MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                  MOTION FOR SUMMARY JUDGMENT




      Thomas R. Applewhite, #64437MO             Gary K. Burger, #32460MO
      Steven A. Donner, #63789MO                 BURGER LAW, LLC
      DONNER APPLEWHITE                          500 N. Broadway, Suite 1860
      906 Olive Street, Suite 1110               St. Louis, Missouri 63102
      St. Louis, Missouri 63101                  Phone: (314) 542-2222
      Phone: (314) 293-3526                      Facsimile: (314) 542-2229
      Facsimile: (888) 785-4461                  Email: gary@burgerlaw.com
      Email: tom.applewhite@da-lawfirm.com
      Email: steve.donner@da-lawfirm.com         CO-COUNSEL FOR PLAINTIFF

      CO-COUNSEL FOR PLAINTIFF
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 2 of 28 PageID #: 1842




                                  TABLE OF CONTENTS

  I.   Frivolous Administrative Remedies Argument                             2

 II.   The Law of Qualified Immunity                                          3

       A.    Quraishi v. St. Charles County                                   4

       B.    Robison v. Clawson                                               5

       C.    Ramsey v. St. Charles County                                     6

       D.    Smith v. St. Charles County                                      7

       E.    Qandah v. St. Charles County                                     9

       F.    Exact Medical Condition Need Not Be Known                        10

III.   COUNT 1: OVERWHELMING EVIDENCE OF MONELL LIABILITY                     11

IV.    COUNT 2: EXCESSIVE FORCE – NO QUALIFIED IMMUNITY                       12

       A.    Defendant Harris                                                 13

       B.    Defendant Fisher                                                 14

       C.    Defendant Martin                                                 15

       D.    Defendant Baker                                                  16

 V.    COUNT 3: MEDICAL NEEDS – NO QUALIFIED IMMUNITY                         16

       A.    Defendant Harris                                                 17

       B.    Defendant Fisher                                                 17

       C.    Defendant Martin                                                 18

       D.    Defendant Baker                                                  20

VI.    COUNT 4: CIVIL CONSPIRACY – JOINT AND SEVERAL LIABILITY                21

       A.    Conspiracy to Deprive Mr. Leonard of His Constitutional Rights   21

       B.    Overt Act in Furtherance of the Conspiracy                       22

       C.    Injury to Mr. Leonard                                            23

VII.   Conclusion                                                             23



                                              ii
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 3 of 28 PageID #: 1843




                                   TABLE OF AUTHORITIES

Cases                                                                Page Nos.

Anderson v. Liberty Lobby, Inc.,
477 U.S. 242, 247-248 (1986)                                                    1

Barton v. Taber, et al.,
820 F.3d 958, 965-966 (8th Cir. 2016)                                  10, 11, 17

Chambers v. Pennycook,
641 F.3d 898, 906 (8th Cir. 2011)                                               6

Coker v. Ark. State Police,
734 F.3d 838, 843 (8th Cir. 2013)                                               6

Dadd v. Anoka County,
827 F.3d 749, 755-56 (8th Cir. 2016)                                        7-10

Dean v. Cty. of Gage, Neb.,
807 F.3d 931, 939 (8th Cir. 2015)                                              21

Doe v. Washington County,
150 F.3d 920, 924 (8th Cir. 1998)                                             2, 3

Gunter v. Morrison,
497 F.3d 868, 873 (8th Cir. 2007)                                              21

Johnson-El v. Schoemehl,
878 F.2d 1043, 1055 (8th Cir. 1989)                                       7, 9, 10

McRaven v. Sanders,
577 F.3d 974, 981 (8th Cir. 2009)                                          10, 11

Monell v. New York City Dept. of Social Servs.,
436 U.S. 658, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978)                    1, 5, 11, 12

Nerness v. Johnson,
401 F.3d 874, 876 (8th Cir. 2005)                                                3

Qandah v. St. Charles Cty., Missouri, No. 4:20CV53 JCH,
2021 WL 808857 (E.D. Mo. Mar. 3, 2021)                                    3, 9-10

Quraishi v. St. Charles Cty., Missouri,
986 F.3d 831 (8th Cir. 2021)                                          3-5, 10, 13




                                             iii
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 4 of 28 PageID #: 1844




Ramsey v. St. Charles Cty., No. 4:15-CV-00776 JAR,
2017 WL 2843574 (E.D. Mo. June 30, 2017)                            3, 6, 7, 10, 16

Robison v. Clawson, No. 4:12-CV-2205 NAB,
2014 WL 1910284 (E.D. Mo. May 13, 2014)                                 3, 5, 6, 10

Scott v. Harris, 550 U.S. 372, 380,
127 S.Ct. 1769, 167 L.Ed.2d 686 (2007)                                           8

Simpson v. Wks.,
570 F.2d 240, 242–43 (8th Cir. 1978)                                            21

Small v. McCrystal,
708 F.3d 997, 1010 (8th Cir. 2013)                                              21

Smith v. Conway County, Ark.,
759 F.3d 853, 860-61 (8th Cir. 2014)                                             8

Smith v. St. Charles Cty., No. 4:18-CV-171 JCH,
2021 WL 253998 (E.D. Mo. Jan. 26, 2021)                                   3, 7-10

Thompson v. Zimmerman,
350 F.3d 734, 735 (8th Cir. 2003)                                               6

Vaughn v. Gray,
557 F.3d 904, 909 (8th Cir. 2009)                                               10

Wertish v. Krueger,
433 F.3d 1062, 1066–67 (8th Cir. 2006)                                           6

White v. McKinley,
519 F.3d 806, 814 (8th Cir. 2008)                                               21

Statutes

42 U.S.C. § 1997e(a)                                                          2, 3

42 U.S.C. § 1983                                                     3, 12, 16, 21

Constitution of the United States of America

U.S. Const., amend. IV                                                        4-5

U.S. Const., amend. VIII                                                        8

U.S. Const., amend. XIV                                                         5



                                               iv
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 5 of 28 PageID #: 1845




                        MEMORANDUM IN OPPOSITION TO
                  DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        The parties in this case have filed cross Motions for Summary Judgment. In response to

Defendants’ Motion for Summary Judgment, the facts set forth in the response of plaintiff Jamie

Leonard (hereinafter, “Mr. Leonard” or “Plaintiff”) to Defendants’ Statement of Facts well meet

Plaintiff’s burden to show a genuine dispute of material facts exists warranting denial of

Defendants’ motion. 1 In actuality, the facts are so overwhelming in support of Plaintiff’s claim

that summary judgment for Plaintiff, detailed in Plaintiff’s Summary Judgment pleadings (Docs.

99, 100, 101), against defendant St. Charles County (hereinafter, the “SCCDOC”) is appropriate.

But with such unassailable facts and argument presented, Plaintiff also now requests summary

judgment against the individual Defendants as the nonmovant under FRCP 56(f)(1). At a

minimum, Plaintiff has met his burden of showing significant material facts barring summary

judgment for each of the Defendants in this case. See Matsushita Electric Industrial Co., Ltd. v.

Zenith Radio Corp., 475 U.S. 574, 586 (1986). There is sufficient evidence favoring Plaintiff

which would enable a jury to return a verdict, or, at the very least in the case of the SCCDOC,

would justify summary judgment for Plaintiff in the first instance. Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 249 (1986); Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986).

        In this pleading, counsel for Mr. Leonard will not completely restate the arguments set

forth in his Memorandum in Support of his Motion for Summary Judgment. 2 Instead, this



1
 Mr. Leonard incorporates by reference his original Statement of Uncontroverted Material Facts (Doc.
101) as if fully set forth herein. Citations to his original Statement of Uncontroverted Material Facts
herein are abbreviated as “PSUMF”. Mr. Leonard also incorporates by reference his Statement of
Additional Material Facts filed herewith in response to Defendants’ Motion as if fully set forth herein.
Citation to these additional facts are abbreviated as “SAMFP” so that the abbreviations are dissimilar in
order to avoid confusion.
2
 Mr. Leonard incorporates herein by reference his Memorandum in Support of his Motion for Summary
Judgment as to the SCCDOC and its Monell liability in this case. Doc. 100.


                                                     1
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 6 of 28 PageID #: 1846




Memorandum largely focuses on the individual Defendants who were not the subject of Plaintiff’s

original Summary Judgment Motion and apprising the Court of binding authority completely

rejecting Defendants’ arguments and which Defendants ignore.

                                             ARGUMENT

         This brief starts where Defendants’ Memorandum ends – with Defendants’ frivolous

administrative remedies argument. Afterwards, Plaintiff addresses Defendants’ other arguments

as raised in their Memorandum in Support of Defendants’ Motion for Summary Judgment. Doc.

103. Plaintiff will not reiterate the facts stated in response to Defendants’ Statement of Facts (Doc.

95), 3 but will reference them as necessary in the argument below.

    I.      FRIVOLOUS ADMINISTRATIVE REMEDIES ARGUMENT

         Defendants’ argument that Mr. Leonard failed to exhaust administrative remedies prior to

filing suit pursuant to the Prison Litigation Reform Act, 42 U.S.C. § 1997e(a) (hereinafter, the

“PLRA”) is frivolous and soundly rejected by longstanding precedent not even hinted at by

Defendants. The PLRA “unambiguously applies to only those suits filed by prisoners.” Doe v.

Washington County, 150 F.3d 920, 924 (8th Cir. 1998). Like the plaintiff in Doe, Mr. Leonard was

not a prisoner or detained when he filed this case, [SAMFP 44, 45], and was only detained from

July 19, 2017 to July 22, 2017 [DSOF 1]. 4 Mr. Leonard filed this case on April 16, 2019 [SAMFP

45], “and the PLRA therefore does not apply to his case.” Id.

         The PLRA’s exhaustion requirement only applies to “person[s] incarcerated or detained

....” 42 U.S.C. § 1997e(h). Accordingly, the exhaustion requirement does not apply to plaintiffs




3
 Citations to Defendants’ Statement of Facts herein are abbreviated as “DSOF”.
4
 July 22, 2017 is the day: of the injury in this case; when Mr. Leonard was pepper sprayed and lost his
eye; and when Defendants assert a “Inmate/Detainee Concern Form” should have been submitted.


                                                    2
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 7 of 28 PageID #: 1847




who file § 1983 claims after being released from incarceration. Doe, 150 F.3d at 924 (8th Cir.

1998); accord Nerness v. Johnson, 401 F.3d 874, 876 (8th Cir. 2005). Doe notes (at 924):

          “The policy behind the PLRA was to deter suits by inmates who are very quick to
          litigate "simply because they have little to lose and everything to gain." 141 Con.
          Rec. S7524 (daily ed. May 25, 1995) (statement of Sen. Dole). The PLRA was
          designed to discourage the initiation of litigation by a certain class of individuals—
          prisoners—that is otherwise motivated to bring "frivolous complaints as a means
          of gaining a short sabbatical in the nearest Federal courthouse." 141 Con. Rec.
          S7526 (daily ed. May 25, 1995) (statement of Sen. Kyl). Congress therefore fully
          intended to distinguish between those who are "prisoners" when they decide
          whether to file a complaint and those who are not. Because Doe was not a prisoner
          when he filed this case, we find that the provisions of the PLRA are inapplicable.”

          Defendants’ argument is completely rejected by the Eighth Circuit. Like the qualified

immunity law in the next section, Defendants should have cited this clear precedent or advocated

a change in the law rather than present this Court with such a legally untenable position.

    II.      THE LAW OF QUALIFIED IMMUNITY

          Plaintiff’s Memorandum in Support of his Motion for Summary Judgment cites numerous

§ 1983 decisions against St. Charles County that were defended by this same counsel. 5 Every

single one of the cited cases found that at least one of St. Charles County’s officers were not

entitled to qualified immunity. Defendants cite zero contrary authority on qualified immunity,

which is surprising in light of the nature of the qualified immunity analysis and these prior and

current cases against St. Charles County. Defendants will get the last word in their Reply, which

underscores the importance of forthrightly citing contrary authority to the Court. Therefore, the

qualified immunity findings involving St. Charles County are now discussed below followed by

additional applicable precedent.


5
 See Quraishi v. St. Charles Cty., Missouri, et al., 986 F.3d 831 (8th Cir. 2021), Robison v. Clawson, No.
4:12-CV-2205 NAB, 2014 WL 1910284 (E.D. Mo. May 13, 2014), Ramsey v. St. Charles Cty., No. 4:15-
CV-00776 JAR, 2017 WL 2843574 (E.D. Mo. June 30, 2017), Smith v. St. Charles Cty., Missouri, No.
4:18CV171 JCH, 2021 WL 253998 (E.D. Mo. Jan. 26, 2021), and Qandah v. St. Charles Cty., Missouri,
No. 4:20CV53 JCH, 2021 WL 808857 (E.D. Mo. Mar. 3, 2021).


                                                    3
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 8 of 28 PageID #: 1848




           A. Quraishi v. St. Charles County

       In Quraishi, the Court found that Deputy Michael Anderson, a member of the St. Charles

County Regional SWAT team, was not entitled to qualified immunity. Quraishi v. St. Charles Cty.,

Missouri, 986 F.3d 831, 837 (8th Cir. 2021). The Court noted that qualified immunity applies if

an officer violates “clearly established statutory or constitutional rights of which a reasonable

person would have known.” Id. at 835. The Court noted that, in analyzing whether qualified

immunity applies, “[a] two-step inquiry applies: (1) whether [the plaintiff has] alleged facts to

show a violation of a constitutional right, and (2) whether that right was clearly established at the

time of the alleged misconduct.” Id. For a plaintiff to meet his burden:

        “[T]he contours of the right must be sufficiently clear that a reasonable official
       would [have understood] that what he is doing violates that right. The state of the
       law at the time of the alleged violation must give officials fair warning their conduct
       was unlawful. There must be precedent, controlling authority, or a robust consensus
       of cases of persuasive authority. There may also be the rare obvious case where the
       unlawfulness of the officer’s conduct is sufficiently clear even though existing
       precedent does not address similar circumstances.”

       Id. (citations and internal quotation marks omitted).

       The Court found that Anderson did not have arguable probable cause because there was

video of “a peaceful scene interrupted by rubber bullets and tear-gas.” Id. at 836. In so ruling, the

Court ruled that “a government official is [not] immune if a superior instructs him to engage in

unconstitutional conduct”, i.e. even if his sergeant told him to deploy the tear-gas. Id. at 837. The

Court then went on to find that qualified immunity did not apply because there was an obvious

violation of the plaintiffs’ First Amendment rights if the plaintiffs in that case were believed by

reasonable jurors. Id. at 838-839.

       The Eighth Circuit Court reaffirmed older law stating that the “use of pepper spray to arrest

an unarmed, compliant suspect can be excessive force.” Quraishi at 840. In that case, the Court

did find that the Fourth Amendment did not apply due to lack of notice that the officer’s conduct


                                                 4
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 9 of 28 PageID #: 1849




was not constitutional under the Fourth Amendment, because “the reporters’ freedom to move was

not terminated or restricted” and there was no “precedent, controlling authority or robust consensus

of cases of persuasive authority” to show tear-gassing was a seizure. Id. (internal quotations

omitted). As further outlined in Plaintiff’s Memorandum in Support of Summary Judgment and

infra, there was no need to enter the cell of a mentally-unwell Mr. Leonard in a suicide prevention

unit at all at that time, much less with pepper spray at the ready, and then pepper spray this

handcuffed man inches from his face. [PSUMF 9, 11, 35, 53, 71, 81-85, 101-104, 107-109, 117,

124-126, 263-273, 299-308, 344, 345, 349, 351]. Furthermore, as Plaintiff showed in his

Memorandum in Support of Summary Judgment, much authority aids Plaintiff’s claims, and there

are multiple recent cases against the SCCDOC in which the SCCDOC’s summary judgment

attempts on qualified immunity were defeated, which are now discussed.

            B. Robison v. Clawson

         Plaintiff’s Memorandum in Support of his Motion for Summary Judgment notes that the

Robison case did not discuss Monell liability but addressed differences between an arrestee and a

pretrial detainee. Defendants admit in their briefing that Mr. Leonard was at least a pretrial

detainee. 6 As to qualified immunity, the Court found that the SCCDOC’s Corporal Clawson was

not entitled to qualified immunity for use of excessive force. Robison v. Clawson, No. 4:12-CV-

2205 NAB, 2014 WL 1910284, at *5 (E.D. Mo. May 13, 2014). The Court noted that “[t]he

constitutional right to be free from excessive force is clearly established and the test is whether the

amount of force used was objectively reasonable.” Id. Finding against Corporal Clawson, the Court

noted:


6
 Once again, Plaintiff does not concede that he does not qualify as an arrestee in the “legal twilight zone”
between arrestee and pretrial detainee under the Fourteenth Amendment. As set forth at length in
Plaintiff’s Memorandum in Support of his Motion for Summary Judgment, the facts are just so
overwhelmingly in Plaintiff’s favor in light of the SCCDOC’s damning admissions that it does not matter.


                                                     5
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 10 of 28 PageID #: 1850




       “Viewed in the light most favorable to Robison, Corporal Clawson’s conduct was
       not objectively reasonable. At the point when Corporal Clawson allegedly struck
       her, Robison had merely refused medical treatment and was not otherwise resisting
       or provoking Corporal Clawson. See Coker v. Ark. State Police, 734 F.3d 838, 843
       (8th Cir.2013) (reversing grant of qualified immunity; concluding reasonable jury
       could find that force used was excessive where plaintiff’s evidence was that officer
       struck plaintiff with metal flashlight after plaintiff was already on the ground and
       complying with officer’s demands); Thompson v. Zimmerman, 350 F.3d 734, 735
       (8th Cir.2003) (reversing summary judgment in excessive force claim based on
       qualified immunity where arrestee testified he was sitting in an unthreatening
       posture when jailors beat him). Nor is there any indication that Robison was
       “passively resistant.” Wertish v. Krueger, 433 F.3d 1062, 1066–67 (8th Cir.2006).
       In addition, while Robison’s injuries could be considered de minimis, that no longer
       forecloses her claim. Chambers v. Pennycook, 641 F.3d 898, 906 (8th Cir.2011).”

       Id. at *6.

       Here, each individual Defendant knew or should have known that Mr. Leonard was in the

midst a severe mental health crisis while detained with the SCCDOC. [PSUMF 9, 11-13, 35-42,

54, 55, 61, 73, 74, 101, 161, 309-317, 322-324 and SAMFP 11]. Similar to the use of force against

Ms. Robison, who had only refused medical treatment and was not resisting or provoking Corporal

Clawson, Mr. Leonard kneeled naked in his suicide prevention cell as Defendants organized,

without any justification, a planned use of force with OC spray against him. [PSUMF 53, 55, 57,

71, 75, 78, 79-85, 101-102, 107-110, 113, 117, 130, 263-276, 289, 290, 305-308, 333-337, 344,

348, 349, 351 and SAMFP 28].

           C. Ramsey v. St. Charles County

       In Ramsey, the Court found that former SCCDOC Director Larry Crawford was not entitled

to qualified immunity. The Court found that his actions constituted excessive force as he allowed

a mentally unwell Ms. Ramsey to be restrained on a table naked for up to two weeks with alleged

pepper spraying while restrained. Ramsey v. St. Charles Cty., No. 4:15-CV-00776 JAR, 2017 WL

2843574, at *4-5 (E.D. Mo. June 30, 2017).




                                                6
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 11 of 28 PageID #: 1851




       Notably, Director Crawford was the SCCDOC Director at the time that Mr. Leonard was

confined at the SCCDOC. [PSUMF 288]. The individual Defendants in this case, like Director

Crawford, not only allowed, but actually participated in the excessive force to be used against Mr.

Leonard. [PSUMF 75-85, 101-122, 130, 230-233, 237, 246, 256-259, 263-273, 334-337, 348, 349,

351, 353 and SAMFP 4-6, 15-20, 23, 28, 32].

       While it is true that Director Crawford was allowed qualified immunity as to Ms. Ramsey’s

claim of inadequate medical care, that grant of qualified immunity was provided because of

extensive evidence of adequate medical care provided when the excessive use of force was

removed from the equation. Id. at *6. That contrasts with Mr. Leonard’s situation where there were

incredible failures as to medical care, such as not administering needed psychiatric or eye

medications, helpful sedatives, any restraint whatsoever before and during the time that he was

ripping out his eye, intervention during such self-harm in the suicide prevention unit, proper

decontamination of pepper spray, and more. [PSUMF 9, 11-13, 15, 18-21, 24, 27-34, 43-46, 48-

52, 59-61, 66, 68, 89, 98-100, 131-152, 155-160, 162, 166-168, 178-193, 195-199, 210-215, 221,

227-232, 245-252, 259, 273-275, 309-330, 338-343, 350-353 and SAMFP 10, 29-31, 36-43].

           D. Smith v. St. Charles County

       In Smith, Judge Hamilton found that neither Officer Graebner nor Officer Gillet were

entitled to qualified immunity. Smith v. St. Charles Cty., Missouri, No. 4:18CV171 JCH, 2021 WL

253998, at *5-6 (E.D. Mo. Jan. 26, 2021). As to Officer Graebner, the Court stated:

       “Upon consideration of the foregoing, the Court finds a genuine issue of material
       fact remains with respect to whether Defendant Graebner exhibited deliberate
       indifference to Plaintiff’s serious medical need. In other words, the Court finds a
       reasonable factfinder could conclude Graebner knew of, but deliberately
       disregarded, a serious medical need when he allegedly ignored Plaintiff’s requests
       for medical assistance. See Johnson-El v. Schoemehl, 878 F.2d 1043, 1055 (8th Cir.
       1989) (citations omitted) ("Delay in the provision of treatment or in providing
       examinations can violate inmates’ rights when the inmates’ ailments are medically



                                                7
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 12 of 28 PageID #: 1852




       serious or painful in nature."); see also Dadd v. Anoka County, 827 F.3d 749, 755-
       56 (8th Cir. 2016).”

       Id. at *5.

       As outlined in Plaintiff’s Memorandum in Support of his Motion for Summary Judgment,

Mr. Leonard’s medical needs were likewise ignored. [PSUMF 9, 11-13, 15, 18-21, 28-42, 44-46,

48-52, 59-61, 68, 89, 97-104, 132, 133, 136, 140, 141, 146, 152, 155-162, 166-168, 170, 178-193-

199, 210-215, 219, 228-232, 243, 246-252, 259, 309-330, 333-340, 343, 344, 345, 351 and

SAMFP 29-31, 36-43]. As to Officer Gillet, the Court found:

       “Viewing the facts in the light most favorable to Plaintiff, the Court finds a genuine
       issue of material fact remains with respect to whether Defendant Gillet utilized
       excessive force during the incident in question. If Plaintiff’s version of events is to
       be believed, Gillet threw or tackled him to the ground in a violent takedown
       maneuver, slamming Plaintiff’s head into a metal stool in the process, even though
       Plaintiff was attempting to comply with orders and was backing up with his arms
       in the air. The Court finds a reasonable jury could conclude that Plaintiff was in
       compliance with the correctional officers’ orders, and posed no threat to the safety
       and security of the institution when he was assaulted. Smith v. Conway County,
       Ark., 759 F.3d 853, 860-61 (8th Cir. 2014). "Accepting this version of facts, which
       is not blatantly contradicted by the record, Scott v. Harris, 550 U.S. 372, 380, 127
       S.Ct. 1769, 167 L.Ed.2d 686 (2007), then any use of force against [Plaintiff] would
       be gratuitous and a violation of the [Eighth] Amendment." Id.”

       Id. at *6.

       The excessive use of force against Mr. Leonard is analogous to this case as outlined in

Plaintiff’s Memorandum in Support of his Motion for Summary Judgment. Here, this Court should

find that as Mr. Leonard was in his cell, kneeling and handcuffed, “a reasonable jury could

conclude that Plaintiff was in compliance with the correctional officers’ orders, and posed no threat

to the safety and security of the institution when he was assaulted.” Id. and [PSUMF 53, 57, 105-

109, 113-122, 130, 272, 342, 344, 349 and SAMFP 24, 28].




                                                 8
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 13 of 28 PageID #: 1853




           E. Qandah v. St. Charles County

       In Qandah, as in Smith, Judge Hamilton found that neither of the two individual officers

who were sued – neither Officer Cast nor Officer McKee – were entitled to summary judgment on

the issue of qualified immunity. Qandah v. St. Charles Cty., Missouri, No. 4:20CV53 JCH, 2021

WL 808857, at *5-6 (E.D. Mo. Mar. 3, 2021). As to Officer Cast, the Court said:

       “Viewing the facts in the light most favorable to Plaintiff, the Court finds a genuine
       issue of material fact remains with respect to whether Defendant Cast exhibited
       deliberate indifference to a substantial risk of serious harm to Plaintiff. If Plaintiff’s
       version of events is to be believed, Defendant Cast knew that inmates regarded
       Plaintiff as a snitch, and that inmates identified as snitches were at risk of attacks by
       other inmates. Cast nevertheless allowed inmate Ballinger to access Plaintiff’s cell,
       despite his knowledge that it violated SCCJ policy for an officer to open one
       inmate’s cell at the request of another inmate, or to allow an inmate to enter the cell
       of another inmate. While Cast testified to a different version of events during his
       deposition, this discrepancy merely raises a fact question inappropriate for
       determination on summary judgment. The Court finds a reasonable jury could credit
       Plaintiff’s account, and conclude that Cast exhibited deliberate indifference to
       Plaintiff’s safety. Thus, because Plaintiff has raised a genuine issue of material fact
       about whether Defendant Cast violated a constitutional right, Defendants’ Motion
       for Summary Judgment on the issue of qualified immunity must be denied.”

       Id. at *5.

       Defendants acted with deliberate indifference to Mr. Leonard’s safety when they

unnecessarily entered his cell in the suicide prevention unit after preparing to use force without

any consultation with Medical. [PSUMF 71, 77-93, 97-104, 107, 342, 343 and SAMFP 10, 11].

Officers continued this deliberate indifference when they stood idly by and watched Mr. Leonard

rip out his eye over the course of minutes. [PSUMF 182-193, 195-199, 207-217, 338, 342, 352

and SAMFP 39-43]. As to Officer McKee, the same officer who admits that no investigation took

place in Mr. Leonard’s case [PSUMF 230-237, 245, 253-256, 353], the Court stated:

       “Upon consideration of the foregoing, the Court finds a genuine issue of material
       fact remains with respect to whether Defendant McKee exhibited deliberate
       indifference to Plaintiff’s serious medical need. In other words, the Court finds a
       reasonable factfinder could conclude McKee knew of, but deliberately disregarded,
       a serious medical need when he allegedly ignored Plaintiff’s requests for medical


                                                  9
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 14 of 28 PageID #: 1854




       assistance. See Johnson-El v. Schoemehl, 878 F.2d 1043, 1055 (8th Cir. 1989)
       (citations omitted) ("Delay in the provision of treatment or in providing
       examinations can violate inmates’ rights when the inmates’ ailments are medically
       serious or painful in nature."); see also Dadd v. Anoka County, 827 F.3d 749, 755-
       56 (8th Cir. 2016). Defendants’ Motion for Summary Judgment on Count II of
       Plaintiff’s First Amended Complaint will therefore be denied.”

       Id. at *6.

       Here, Plaintiff’s psychosis and eye condition were allowed to worsen without needed

medical care despite being known and obvious to each of the individual Defendants and others at

SCCDOC in this case (in the case of the psychosis) and having been brought to the attention of

Medical at SCCDOC and Defendant Martin (in the case of the eye condition). [PSUMF 9, 11-13,

15, 18-21, 26-42, 44-52, 54, 62-68, 74, 98-104, 127, 138-141, 146, 147, 152, 155-159, 161, 166-

168, 178, 179, 182-199, 337-342, 350-352 and SAMFP 11, 29, 30, 36-43].

       These undisclosed cases of Quraishi, Robison, Ramsey, Smith and Qandah confirm the

impropriety of qualified immunity. This is clearly an institution that does not respect the rights of

the American citizens that it detains, and it is being called to answer for that again and again.

           F. Exact Medical Condition Need Not Be Known

       Finally, Plaintiff directs this Court to Barton v. Taber, et al., 820 F.3d 958, 965-966 (8th

Cir. 2016), when considering the exact extent to which the individual Defendants actually needed

to know of Mr. Leonard’s medical condition. In Barton, the Eighth Circuit found that a pretrial

detainee’s right to medical care was well-established and there was no qualified immunity for its

denial when the inmate died due to a heart condition that was unknown to the officer. (“[T]he

complaint was not required to allege that Owens knew of Barton’s heart condition, only that Barton

showed obvious signs of an objectively serious medical need.”) Many cases were compiled in the

decision, such as Vaughn v. Gray, 557 F.3d 904, 909 (8th Cir.2009) (denying qualified immunity

to officers claiming they thought a prisoner’s vomiting “was caused by the ingestion of shampoo”)



                                                 10
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 15 of 28 PageID #: 1855




and McRaven v. Sanders, 577 F.3d 974, 981 (8th Cir. 2009) (denying qualified immunity where

an inmate exhibited symptoms of severe intoxication and overdose). Barton at 965. Mr. Leonard’s

medical needs were obvious to the Defendants. [PSUMF 9, 11-13, 15, 18, 19, 28, 35-42, 45, 48,

49, 54, 66, 68, 74, 98, 99, 101, 161, 166, 182-199, 342, 350-353 and SAMFP 11, 29, 30, 42].

   III.      COUNT 1: OVERWHELMING EVIDENCE OF MONELL LIABILITY

          Before addressing qualified immunity, however, Plaintiff has presented overwhelming

evidence that his constitutional rights were violated by SCCDOC through a policy statement,

ordinance, regulation, or decision officially adopted and promulgated by that body’s officers per

Monell v. Department of Social Services, 436 U.S. 658 (1978). See Docs. 99, 100, 101.

Defendants’ position is that this one incident does not show that there were unconstitutional

policies, custom or inadequate training. Their argument is disconnected from, and does not even

begin to address, the overwhelming evidence in this case. See Doc. 101. Defendants completely

ignore that their acting Director and non-retained expert for this case testified that their conduct

violated appropriate correctional practices as asserted by Plaintiff and his expert and were, thus,

unconstitutional. [PSUMF 247, 254-256, 269-273, 284-287, 333-335, 342, 347, 348]. Director

Keen established that the policies were so bad that they must be changed but were not, even years

later. [PSUMF 282, 285, 287-290, 342]. Not only did Defendants know of prior correctional officer

misconduct causing injury to detainees and fail to take action, they did not even investigate the

instant case. [PSUMF 231-237, 245, 253, 254, 256-259, 342]. Instead, they ratified and praised

the individual Defendants for their unconstitutional conduct. [PSUMF 238-248, 342, 346, 353].

Defendants’ conduct is so bad, Keen would have inquired of intentional retaliation by Defendants

Harris and Fisher against Mr. Leonard for Leonard’s grossly aberrant behavior the night before.

[PSUMF 236, 237, 342]. This is not a close call, summary judgment for SCCDOC should be

denied and summary judgment for Plaintiff should be granted.


                                                11
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 16 of 28 PageID #: 1856




         Again, Monell liability arises in this case on multiple grounds: (1) post-incident ratification,

(2) unconstitutional policies, (3) deliberately indifferent failure to train and supervise, and (4)

unconstitutional unofficial customs. The unconstitutional practices of SCCDOC is likely the

reason for many other and similar claims against the SCCDOC. Defendants’ assertion that its

policies are just fine and there have been no other claims is simply false. See Docs. 100 (section

III), 101. Plaintiff established that, at the time of the incident, policies were not enforced and

training was not performed. Director Keen agrees that it is a “fair assumption” that there was

“obviously” a “problem with adhering [to] policy” before he took over as Director of SCCDOC.

[PSUMF 270]. Director Keen had to “get back to policies” and train all officers on the

“appropriateness of the use of force”, including Suicide Prevention Officer Donte Fisher

(hereinafter, “Fisher”) and Officer Steven Harris (hereinafter, “Harris”). [PSUMF 272]. In an

incredible admission, Director Keen testified that after the instant incident, he had to make changes

to get the SCCDOC “in line to make sure we’re following what a planned use of force is and we’re

making sure we’re calling [Defendant’s] medical department prior to any use of force.” [PSUMF

273].

   IV.       COUNT 2: EXCESSIVE FORCE – NO QUALIFIED IMMUNITY

         Defendants Harris, Fisher, Baker and Martin are not entitled to qualified immunity from

Plaintiff’s 42 U.S.C. § 1983 excessive force claims. Plaintiff cannot and does not recite every

painstaking fact demonstrating these individual Defendants’ failures, because then this brief would

exceed fifty pages. Instead, factual summaries are given with citations, infra. For each individual

Defendant, it was sufficiently clear that a reasonable official would have understood that what he

or she did violated Mr. Leonard’s rights at the time and that this planned use of pepper spray




                                                   12
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 17 of 28 PageID #: 1857




against Mr. Leonard was objectively unreasonable. For each of the below examples, recall that the

unnecessary cell search should never have happened in the first place. [PSUMF 71].

            A. Defendant Harris

        Defendant Harris actually performed the use of force on Mr. Leonard. [PSUMF 117].

When Defendant Harris pepper sprayed Mr. Leonard, Mr. Leonard was handcuffed, which is well-

known to be objectively unreasonable in the corrections industry. [PSUMF 117, 118]. He pepper

sprayed Mr. Leonard approximately one foot from his face, which he knew could effectively tattoo

an inmate’s eye with pepper and other irritation particles. [PSUMF 124-126, 303, 344, 345]. The

video of the cell shows that Defendant Harris could never have put at least three feet of distance

between the pepper spray canister and Mr. Leonard. [PSUMF 124-126, 303, 344, 345]. 7 To that

point, a variety of other use of force methods were available to trained martial artist Defendant

Harris, including the lesser use of force of pressure point control tactics, but Defendant Fisher said

to use pepper spray, so Defendant Harris readied his pepper spray. [PSUMF 80-82, 107, 348 and

SAMFP 15, 16, 17, 18, 19, 20, 27 32]. 8 Somehow, presumably through a lack of study, Defendant

Harris wrongly believed that pepper spray was considered a lesser use of force than pressure point

control tactics as late as February 5, 2020. [SAMFP 21].

        Defendant Harris understood that he was not supposed to immediately rush into conflict

with a mentally unwell inmate if the inmate was not a danger to himself or others. [SAMFP 23].

He was even trained to have more patience with inmates who are schizophrenic, might be suicidal

or have strange behavior given that people under the influence of drugs and people with mental

health conditions are two of the four statistically high-risk groups that jails hold. [PSUMF 56 and


7
 Defendants’ counsel promised to provide the dimensions of Mr. Leonard’s cell to Plaintiff’s counsel, but
Defendants’ counsel did not provide that information to Plaintiff’s counsel as promised.
8
 As discussed, supra, the fact that Defendant Harris was instructed to pepper spray Plaintiff does not in
any way shield Defendant Harris from liability. Quraishi at 837.


                                                    13
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 18 of 28 PageID #: 1858




SAMFP 24, 26]. Indeed, for a planned use of force, Defendant Fisher taught Defendant Harris that

he was supposed to get medical information on the inmate prior to using pepper spray. [SAMFP

10]. Although he was supposed to check with Medical in advance of using pepper spray, he did

not do so. [PSUMF 87-89, 343]. Damningly, it is clear that Defendant Harris sprayed Mr. Leonard

in the face to prevent him from exiting his cell, not to prevent himself from being attacked.

[SAMFP 28]. As Director Keen agrees, the use of force was entirely uncalled for by Mr. Leonard’s

resistance (ignoring the fact that the cell search at that time should not have happened in the first

place). [PSUMF 112-122, 139, 271, 290, 342, 344]. Director Keen thinks it incredible that the

circumstances of the pepper spray use without authorization even occurred. [PSUMF 83-85, 342-

349]. Defendant Harris has not learned his lesson, denying his bad conduct in this case and then

pepper spraying an innocent inmate in 2020. [PSUMF 245, 247, 257-259]. And he should be

immune? What message does that send to Defendant Harris – and our community – if he is?

           B. Defendant Fisher

       Defendant Fisher organized and directed the planned use of force against Mr. Leonard.

[PSUMF 79, 80, 348]. Defendant Fisher instructed Defendant Harris to have his pepper spray

unholstered, in his hand and ready to use on Mr. Leonard prior to entering Mr. Leonard’s cell on

the suicide prevention unit “as a precaution in case [Mr. Leonard] imploded” and “as [a]

distraction” or “scare factor”. [PSUMF 81]. Mr. Katsaris and Director Keen surmised it may have

been done to retaliate against Mr. Leonard for his conduct the night before. [PSUMF 237].

Defendant Fisher was not allowed to authorize this use of force by policy; instead, he was supposed

to contact Defendant Baker, who was the person who had the authority to authorize the use of

pepper spray on Mr. Leonard. [PSUMF 82-84, 346-348]. Although they had the time to do so and

because Mr. Leonard was not an immediate threat to himself or others, Defendant Fisher (and

Defendant Harris for that matter) did not consult Defendant Baker or consult Medical regarding


                                                 14
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 19 of 28 PageID #: 1859




the planned use of force. [PSUMF 85, 229, 252, 263-274, 277-293, 334-337, 343, 346-348]. Like

Defendant Harris, Defendant Fisher understood that there were other means that could have been

employed to avoid the use of pepper spray. [SAMFP 4, 5, 6, 7, 8, 9]. Indeed, he could and should

have avoided the cell search entirely, having already known that no threats were contained within

Mr. Leonard’s cell as a result of a cell search prior to Mr. Leonard being placed in the cell, and

being able to easily monitor Mr. Leonard’s cell as one of only five cells on the suicide prevention

unit. [PSUMF 194 and SAMFP 13, 14].

           C. Defendant Martin

       Given Mr. Leonard’s medical conditions, Nurse Martin believed that Mr. Leonard should

not have been allowed to have been pepper sprayed. [PSUMF 98, 100, 342]. She would have

known that pepper spray causes, for approximately 30-45 minutes, a “painful burning sensation in

the eyes, involuntary eye closure, profound tearing, visual impairment, and protracted redness; and

psychological effects, such as fear, anxiety and possible panic.” [SAMFP 1]. She knew there was

a risk of injury in using pepper spray on Mr. Leonard given his medical condition even at the

recommended distance. [PSUMF 97-103]. Despite this belief, Nurse Martin completely failed to

convey that pepper spray should not be used against Mr. Leonard as a result of (a) acute psychosis

and (b) uveitis/iritis. [PSUMF 65-68, 90, 100-101, 161, 342]. The way that she could have

communicated with the suicide prevention officers – segregation reports – completely omitted

mention of Mr. Leonard’s eye condition, psychotic issues and whether he was disqualified from

the use of pepper spray despite Medical having knowledge of these medical conditions. [PSUMF

62-68, 342]. As an on-duty nurse, this information should have been conveyed via segregation

report or other means – such as when she visited Mr. Leonard mere hours before the incident when

he threatened self-harm and wanted to die. [PSUMF 62-68]. Had she done that, Defendant Fisher




                                                15
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 20 of 28 PageID #: 1860




would not have ordered the use of pepper spray on Mr. Leonard and no injury would have occurred.

[PSUMF 90].

           D. Defendant Baker

        Defendant Baker was supposed to be supervising this entire occurrence. [PSUMF 84, 85,

171, 323, 342, 348]. Despite being the person who could authorize the use of pepper spray,

Defendant Baker completely failed to supervise this entire, awful use of force situation. [PSUMF

84, 85, 171, 323, 348]. Abdicating her duty to authorize force to Defendant Harris in violation of

policy (which resulted in severe permanent injury) does not concern Defendant Baker – she

continues to approve of what her officers did to Mr. Leonard to date. [PSUMF 238, 245, 342, 346,

348]. Furthermore, even though cell searches on every shift change were completely unwarranted

and harmful in the suicide prevention unit, Defendant Baker approved and oversaw this practice.

[PSUMF 70, 71]. If Director Crawford did not have qualified immunity in Ramsey (at *4-5), then

Defendant Baker does not get qualified immunity here.

   V.      COUNT 3: MEDICAL NEEDS – NO QUALIFIED IMMUNITY

        Likewise, Defendants Harris, Fisher, Baker and Martin are not entitled to qualified

immunity from Plaintiff’s 42 U.S.C. § 1983 claims of deliberate indifference to his medical needs.

For each individual Defendant, it was sufficiently clear that a reasonable official would have

understood that what he or she did violated Mr. Leonard’s rights, each of the individual Defendants

knew of at least Mr. Leonard’s psychosis if not his eye condition, and each of these individual

Defendants deliberately disregarded the aforementioned serious medical conditions of Mr.

Leonard (acute psychosis and uveitis/iritis as discussed more at length in Plaintiff’s Memorandum

in Support of his Motion for Summary Judgment).




                                                16
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 21 of 28 PageID #: 1861




           A. Defendant Harris

       Defendant Harris knows that spraying an inmate entrusted to his care in the face with

pepper spray affects their mucous membranes so inmates feel a burning sensation on their lips,

through their nostrils, and their eyes, and any sensitive portion of their skin will start to burn.

[SAMFP 22]. Defendant Harris knew that spraying an inmate in the face can affect that inmate’s

eyes for up to two hours. [SAMFP 29]. As the person who sprayed Mr. Leonard, Defendant Harris

was required to ensure Mr. Leonard’s eyes were washed out appropriately. [PSUMF 142, 143,

342]. Mr. Leonard was still attempting to wash the pepper spray out his eyes in a sink instead of

an eye wash station when Defendant Harris left him behind. [PSUMF 145-147, 350-352 and

SAMFP 30]. He did not even bother to document that he left Kristian Scott in charge of Mr.

Leonard’s pepper spray aftercare in violation of St. Charles’ policy. [PSUMF 147-151 and SAMFP

31]. Defendant Harris obviously just did not care about Mr. Leonard’s aftercare, which contributed

to Mr. Leonard pulling out his eye. [PSUMF 148, 152, 350-352].

           B. Defendant Fisher

       It is St. Charles DOC’s policy that the only time that Medical is required to be contacted is

when there is a planned use of force, especially with the use of pepper spray. Defendant Fisher

understood this policy and knew he was supposed to get medical information on an inmate before

using pepper spray. [PSUMF 85-89, 91-93, 343 and SAMFP 10]. Although he had the time to do

so, Defendant Fisher (and Defendant Harris for that matter) did not consult Medical regarding the

planned use of force. [PSUMF 85, 88, 89]. It is undisputed that it would have taken less than one

minute for Defendant Fisher to have learned about Mr. Leonard’s eye condition and his mental

health issues had he not already known about them. [SAMFP 3].

       That said, Defendant Fisher and the other officers did know that Mr. Leonard was at least

significantly mentally unwell, even if they did not know Mr. Leonard’s exact medical condition –


                                                17
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 22 of 28 PageID #: 1862




similar to Barton at 965-966. [PSUMF 54, 61, 74, 101, 342, 348]. At Defendant Fisher’s briefing

with Officer Scott and Defendant Harris prior to searching Mr. Leonard’s cell on July 22, 2017,

Defendant Fisher informed them that Mr. Leonard had been acting strange and that they might

need to be cautious in dealing with Mr. Leonard before they entered the cell for searches. [PSUMF

74, 79 and SAMFP 11]. Defendant Fisher had a problem with Mr. Leonard on July 22, 2017 before

his planned use of force meeting because Mr. Leonard was acting strange: pacing, yelling, cussing,

naked, standing on top of the bunk, and standing on the commode. [PSUMF 73]. During the shift

change, Defendant Fisher noted that Mr. Leonard had continued to display erratic behavior by

standing on his bunk nude, repeatedly flushing the toilet, shouting and banging his head on the

door and walls. [PSUMF 74]. Defendant Fisher even claims that these disturbing behaviors were

the impetus for having additional officers ready for a planned use of force during this completely

unnecessary cell search. [PSUMF 75, 78, 237, 342].

           C. Defendant Martin

       Defendant Martin had easy access to information regarding Mr. Leonard’s extreme mental

health situation, his eye disorder that would have precluded the use of pepper spray, his suicidal

ideation, self-harm actions, and his need for medication. [PSUMF 9, 11-13, 15, 18-21, 28-42, 44-

46, 48-52, 65, 66, 68, 98-100, 101, 158, 161, 342, 349]. After all, she was one of the people who

decided to place Mr. Leonard on the suicide prevention unit. [PSUMF 53]. She did not bother,

however, to note any of the health conditions that would have prevented Mr. Leonard from being

pepper sprayed for the suicide prevention officers to read. [PSUMF 62-68]. So little did Defendant

Martin care that she actually allowed Mr. Leonard to not receive any of his medications, causing

or at least worsening his acute psychosis. [PSUMF 28, 29, 32-42, 45-49, 52]. She could have had

him restrained or administered Haldol to him, which was in stock at the jail, but she just did not

bother to call the on-duty psychiatrist. [PSUMF 44-52, 160-162]. The fact that Mr. Leonard was


                                               18
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 23 of 28 PageID #: 1863




easily sedated with Haldol by paramedics after he tore out his eye shows that this form of medicine

would have helped. [PSUMF 51, 221, 222].

       All of that said, she had another opportunity to prevent this tragedy from happening in this

suicide prevention unit after Mr. Leonard was sprayed; in addition to correcting her failures

described above, she simply could have ensured that Mr. Leonard was placed in a shower or

brought to an actual eye wash station. [PSUMF 141, 167, 168, 342, 350]. She did not do any of

these things. [PSUMF 141, 167, 168, 342, 350]. She just let him be left alone in a cell without

medicines, without an actual eyewash station or real method of rinsing out his eyes, without

restraints and without sedation. [PSUMF 160-162, 166-168, 178, 342, 350 and SAMFP 37].

Between 6:45 am on July 22, 2017 and when Defendant Martin arrived when Mr. Leonard was

attempting to remove his eyeball from his eye socket, Defendant Martin had not even asked any

SCCDOC employee whether Mr. Leonard’s eye irritation from being pepper sprayed had

improved, worsened, or stayed the same. [PSUMF 170, 179 and SAMFP 36].

       The best and smartest practice in a suicide prevention unit is do no harm. After they failed

this by pepper spraying the handcuffed Mr. Leonard, they must attempt to stop suicide or self-

harm attempts by an inmate as quickly as possible, even if medical staff are not yet present.

[SAMFP 38]. When Defendant Martin was called to respond to Mr. Leonard attempting to claw

out his eye, there were at least four or five St. Charles employees in the hall outside of Mr.

Leonard’s cell watching and not intervening. [PSUMF 194-198, 217, 246, 342, 352, 353 and

SAMFP 39-42]. From the time Defendant Martin arrived to respond to Mr. Leonard attempting to

injure his eye and prior to Mr. Leonard actually removing his eyeball from his eye socket, no one

attempted to constrain Mr. Leonard or tried to prevent Mr. Leonard from hurting himself. [PSUMF

199, 342, 352, 353 and SAMFP 40]. It was surprising to Defendant Martin that St. Charles’




                                                19
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 24 of 28 PageID #: 1864




employees had not tried to prevent Mr. Leonard from ripping out his eye. [PSUMF 212, 342, 352,

353 and SAMFP 41]. The St. Charles employees present at the time that she was coming down the

hall to Mr. Leonard’s cell to respond were watching Mr. Leonard’s self-harm attempt through the

window of Mr. Leonard’s cell door in the suicide prevention unit. [PSUMF 194-198 and SAMFP

42]. Defendant Martin believed that a sufficient number of SCCDOC employees were present

during Mr. Leonard’s self-harm attempt on July 22, 2017 to have safely entered Mr. Leonard’s

cell prior to Mr. Leonard removing his eyeball from his eye socket. [PSUMF 210 and SAMFP 43].

This is not the suicide prevention unit that any of us want our loved ones to be in if they are

mentally unwell. This was no different than watching an inmate try to hang himself. [PSUMF

352]. This is not constitutional in this country and no immunity should be granted.

           D. Defendant Baker

       Defendant Baker was sitting just across the hall from Mr. Leonard’s cell while he was

tearing his eye out. [PSUMF 197]. Like her other subordinates, Defendant Baker made no effort

to prevent Mr. Leonard from tearing his eye out. [PSUMF 199 and SAMFP 2]. She was supposed

to be ensuring that Mr. Leonard was regularly being checked upon and protected from self-harm,

which was easy with only five cells in the suicide prevention unit that could easily be viewed.

[PSUMF 169, 194 and SAMFP 14]. At least she manages consistently – she did not bother to have

Mr. Leonard’s eyes decontaminated either. [PSUMF 141, 342, 350]. She let Defendant Harris

leave instead of having him oversee the decontamination in violation of policy. [PSUMF 144-152,

342]. She was just an absent manager in one of the most important jobs a person can oversee –

suicide and self-harm prevention. She oversaw the most egregious failure in a medical/physical

crisis ever reviewed by one of the nation’s top experts, Ken Katsaris. [PSUMF 214, 352]. Director

Keen, the SCCDOC’s non-retained expert and current Director, endorsed that opinion by Mr.

Katsaris. [PSUMF 214, 333].


                                               20
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 25 of 28 PageID #: 1865




          As to each of these individual Defendants, again note that Director Keen made numerous

other admissions of the policy and constitutional violations by Defendants as outlined in Docs. 99,

100 and 101, which need not be repeated here. He clearly does not care to change policy anytime

soon. [PSUMF 282, 285, 287-290]. That is why we have Courts, and Plaintiff needs this Court to

make a statement that American citizens – especially pretrial detainees – still have their

constitutional rights.

    VI.      COUNT 4: CIVIL CONSPIRACY – JOINT AND SEVERAL LIABILITY

          While Plaintiff has attempted to parse out the analysis as to each individual Defendant, the

entire point of a civil conspiracy count is that the co-conspirators are held jointly and severally

liable for the result in which they participated. Simpson v. Wks., 570 F.2d 240, 242–43 (8th Cir.

1978). “To prove a 42 U.S.C. § 1983 conspiracy claim, a plaintiff must show: (1) that the defendant

conspired with others to deprive him of constitutional rights; (2) that at least one of the alleged co-

conspirators engaged in an overt act in furtherance of the conspiracy; and (3) that the overt act

injured the plaintiff.” White v. McKinley, 519 F.3d 806, 814 (8th Cir. 2008). See also Gunter v.

Morrison, 497 F.3d 868, 873 (8th Cir. 2007); Dean v. Cty. of Gage, Neb., 807 F.3d 931, 939 (8th

Cir. 2015); and Small v. McCrystal, 708 F.3d 997, 1010 (8th Cir. 2013). Furthermore, a court’s

finding that a constitutional violation can be proven also serves to defeat a qualified immunity

defense at the summary judgment stage for the conspiracy claim. Id.

             A. Conspiracy to Deprive Mr. Leonard of His Constitutional Rights

          In this case, there was literally a meeting about the planned use of force in question that

involved Defendant Harris and Defendant Fisher. [PSUMF 79-81, 342, 348, 349]. Defendant

Martin’s assent to this conspiracy to deny Mr. Leonard his rights involved her complete lack of

interest in Mr. Leonard’s proper medical care after the planned use of force as described supra.

Defendant Baker’s complete lack of interest in either the use of force or Mr. Leonard’s medical


                                                  21
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 26 of 28 PageID #: 1866




care was obvious when she surveyed the situation and just left the situation untouched so that it

could grow out of control. [PSUMF 58-61, 82-108, 117-122, 130-160, 168-170, 342, 348, 349].

Finally, the complete whitewashing of the events here: no investigation, a cursory use of force

review that day ratifying all conduct of the Defendants which has gone unchanged, and then a

follow-up e-mail thanking all of the participants “for a job well done!” demonstrates that the entire

SCCDOC system was more than perfectly fine with the individual Defendants’ behavior. [PSUMF

242, 243, 342]. Finally, the “inconceivable” destruction of video evidence in this case that would

have highlighted wrongdoing is part and parcel with the aforementioned whitewashing. See Doc.

97, Renewed Motion for Sanctions, pp. 4-6.

           B. Overt Act in Furtherance of the Conspiracy

       Each of the individual Defendants contributed to this conspiracy as set forth supra. Any of

these individual Defendants could have stopped their unlawful actions to ensure that Mr. Leonard’s

constitutional rights were upheld. As set forth, supra, Defendant Harris could have not pepper

sprayed Mr. Leonard in his Reiter’s syndrome eye or at least abided by decontamination policies

and training. [PSUMF 2, 81-100, 105-128, 131-152, 342, 351]. Defendant Fisher could have

simply not ordered this planned use of pepper spray or conducted the cell entry differently.

[PSUMF 73-90, 109-130, 342]. He, too, could have seen to the proper decontamination of Mr.

Leonard’s eye. [PSUMF 131-142, 152, 155-158, 168-170, 342, 351]. Defendant Martin could have

given Mr. Leonard his medications, sedated him, had him restrained, informed the officers of his

medical conditions, or ensured that Mr. Leonard’s eye was properly decontaminated. [PSUMF 2-

7, 10-13, 15, 24-34, 43-52, 62-69, 90, 99, 136, 138-141, 144-146, 154-170, 178, 179, 342, 350-

353]. Defendant Baker could have shown the slightest interest in the suicide prevention unit to

ensure that the other individual Defendants were behaving constitutionally and not hurting their

charges, had Mr. Leonard’s eye decontaminated after the use of pepper spray, or, at a minimum,


                                                 22
Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 27 of 28 PageID #: 1867




not literally sat by while Mr. Leonard tore his eye out in her suicide prevention unit and then

ratified all her officers’ conduct in her use of force review completed before Mr. Leonard was even

done being treated at the hospital for the injury. [PSUMF 54-61, 73-104, 107-128, 130-160, 167,

168, 182-195, 195-217, 223, 338, 342, 350-353 and SAMFP 39-43].

           C. Injury to Mr. Leonard

       This is a rare case wherein Mr. Leonard’s injuries have been directly tied to the Defendants’

failures by completely unchallenged experts, one of whom was endorsed by Defendants’ “non-

retained” expert, Director Keen. [PSUMF 332, 333, 337, 342, 351]. As a result, the expert

consensus is that Mr. Leonard would not have lost his eye had these individual Defendants not

deprived him of his constitutional rights. [PSUMF 50, 337, 340, 342, 351]. There were so many

opportunities for this result to be avoided, but the individual Defendants failed at every turn.

[PSUMF 9-13, 15-21, 24-29, 32-35, 43-52, 58-61, 64-69, 71, 81-93, 98-106, 117-127, 131-137,

141-152, 155-162, 166-168, 174-177, 182-185, 193-199, 202-215, 217, 221-227, 247, 250, 252,

255, 256, 263-273, 281-288, 291-308, 312-330, 334-341, 342-353].

   VII.    CONCLUSION

       The scope of the Defendants’ constitutional deprivations in this case caused “a total

disregard of the correctional mission” – especially given that Defendants were charged with

preventing harm to Mr. Leonard on a suicide prevention unit. [PSUMF 247, 342-353]. The

individual Defendants show no ounce of remorse. [PSUMF 231, 232, 238, 242, 243, 245, 246,

352, 353]. Instead, they assert their conduct was proper and filed a meritless Motion for Summary

Judgment, which includes a frivolous claim of administrative exhaustion and none of the many

contrary cases to their position. The only way to stop Defendants is a ruling making them take

responsibility for their actions. The American public, including the people of St. Charles County,




                                                23
      Case: 4:19-cv-00927-MTS Doc. #: 107 Filed: 05/20/21 Page: 28 of 28 PageID #: 1868




      deserve better from their government, which is why Mr. Leonard and every American citizen has

      the right to make constitutional claims. This Court is the last bulwark against tyranny.

             For the reasons set forth herein, Plaintiff respectfully requests that Defendants’ Motion for

      Summary Judgment be DENIED and summary judgment GRANTED for plaintiff against the

      individual Defendants as the nonmovant under FRCP 56(f)(1).



      Date: May 20, 2021                                       Respectfully submitted by,

       DONNER APPLEWHITE,
       ATTORNEYS AT LAW                                        BURGER LAW, LLC

By:    /s/ Thomas R. Applewhite                            By: /s/ Gary K. Burger
       Thomas R. Applewhite, #64437MO                          Gary K. Burger, #32460MO
       Steven A. Donner, #63789MO                              500 N. Broadway, Suite 1860
       906 Olive Street, Suite 1110                            St. Louis, Missouri 63102
       St. Louis, Missouri 63101                               Phone: (314) 542-2222
       Phone: (314) 293-3526                                   Fax:     (314) 542-2229
       Fax:      (888) 785-4461                                Email: gary@burgerlaw.com
       Email: tom.applewhite@da-lawfirm.com
                 steve.donner@da-lawfirm.com                   Co-Counsel for Plaintiff

       Co-Counsel for Plaintiff

                                      CERTIFICATE OF SERVICE

              I certify on May 20, 2021 that a true and correct copy of the above and foregoing document
      was filed with the Clerk of Court, which sent a copy to all counsel of record.

                                            /s/ Thomas R. Applewhite




                                                      24
